O A O 247 (N C /W 11/11) O rder R egarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT C OURT
                                                                            for the
                                                         Western District of North Carolina

                     United States of America                                  )
                                v.                                             )
                                                                                 Case No:    DNCW 390CR000085-003
                   ERIC LAM OUNT W HITENER                                     )
                                                                                 USM No:     08274-058
                                                                               )
Date of Original Judgment:     November 26, 1990
                                                                               )
Date of Last Amended Judgment: April 28, 1992                                    Thomas N. Cochran
                                                                               )
                                                                                  Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of Cts. 3&11-Life is reduced to Cts. 3 & 11 - 360 months

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:                 43                                        Amended Offense Level:     42
Criminal History Category:              IV                                        Criminal History Category: IV
Original Guideline Range:               Life                                      Amended Guideline Range: 360 months-Life
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Since Counts 3 & 11 were grouped for purposes of the guidelines, the Amendment 750 reduction would also apply to
                           Count 3, which is a CCE conviction. The 105 years consecutive imposed on the other counts of conviction (Counts
                           5,12,13,19,22,24,25,26,28,29 & 37-Use of Firearm During and In Relation to Drug TraffickingCrime and Aiding and
                           Abetting the Same Count 14-Use of a Firearm During and In Relation to a Drug Trafficking Crime) remains the same.



III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release from incarceration, it is
ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for a period not to exceed 90
days, with work release, at the direction of the U.S. Probation Officer.

Except as provided above, all provisions of the judgment dated                        November 26, 1990        shall remain in effect.
IT IS SO ORDERED .
                                                                                      Signed: November 13, 2012
Order Date:           November 13, 2012



Effective Date:
                       (if different from order date)




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